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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                         BRUNSWICK DIVISION

UNITED STATES OF AMERICA

V.                                                  CR 218-14


JEREMY MCINTYRE




                               PLEA AGREEMENT


      Defendant, Jeremy Mclntyre, represented by his counsel Allan Tucker, Esq.,

and the United States of America, represented by Assistant United States Attorney

Matthew A. Josephson, have reached a plea agreement in this case. The terms and

conditions of that agreement are as follows.

1.    Guilty Plea


      Defendant agrees to enter a plea of guilty to the lesser-included offense of

Conspiracy to Possess with Intent to Distribute and to Distribute a Quantity of

Cocaine, in violation of 21 U.S.C. § 846, a lesser included offense contained within

Count One ofthe Indictment. At sentencing, the government will move to dismiss all

remaining counts against Defendant.

2.    Elements and Factual Basis

      The elements necessary to prove the lesser-included offense of Count One are

as follows:

      FIRST:        That two or more people in some way agreed to try to accomplish
                    a shared and unlawful plan to possess a quantity of cocaine, a
                    schedule II controlled substance;
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      SECOND:      That the defendant knew the unlawful purpose of the plan and
                   willfully joined in it; and

      THIRD:       That the object ofthe unlawful plan was to possess with the intent
                   to distribute the controlled substance and to distribute the
                   substance.


      Defendant agrees that he is, in fact, guilty of this offense. He agrees to the

accuracy of the following facts, which satisfy each of the offense's required elements:

      Beginning on a date at least as early as December 19, 2016, and continuing up

to and including March 2018, the precise dates being unknown, in Glynn and

Mclntosh Counties, within the Southern District of Georgia, and elsewhere, the

defendant, Jeremy Mclntyre, aided and abetted by others known and unknown, with

some joining the conspiracy earlier and others joining later, did knowingly and

intentionally combine, conspire, confederate and agree with others, known and

unknown, to possess with intent to distribute and to distribute a quantity of cocaine,

a schedule H controlled substance.

      All in violation of Title 21, United States Code, Sections 841(a)(1) and 846.

3.    Possible Sentence


      Defendant's guilty plea to the lesser-included offense of Count One will subject

him to the following maximum possible sentence: 20 years of imprisonment, 3 years

of supervised release, a $1,000,000 fine, such restitution as may be ordered by the

Court, and forfeiture of all forfeitable assets. The Court additionally must impose a

$100 special assessment per count of conviction.

4.    No Promised Sentence
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      No one has promised Defendant that the Court will impose any particular

sentence or a sentence within any particular range. The Court is not bound by any

estimate of sentence given or recommendations made by Defendant's counsel, the

government, the U.S. Probation Office, or anyone else. The Court may impose a

sentence up to the statutory maximum. Defendant will not be allowed to withdraw

his plea of guilty if he receives a more severe sentence than he expects.

5.    Court's Use of Guidehnes

      The Court is obligated to use the United States Sentencing Guidelines to

calculate the applicable guidehne range for Defendant's offense and to consider that

range, possible departures under the Sentencing Guidelines, and other sentencing

factors under 18 U.S.C. § 3553(a), in determining his sentence. The Sentencing

Guidelines are advisory; the Court is not required to impose a sentence within the

range those Guidelines suggest. The Sentencing Guidelines are based on all of

Defendant's relevant conduct, pursuant to U.S.S.G. § 1B1.3, not just the facts

underlying the particular Count to which Defendant is pleading guilty.

6.    Asfreements Regarding Sentencing Guidelines

      a.     Acceptance of Responsibilitv

      The government will not object to a recommendation by the U.S. Probation

Office that Defendant receive a two-level reduction in offense level for acceptance of

responsibility pursuant to Section 3El.l(a)of the Sentencing Guidelines. If the U.S.

Probation Office makes that recommendation, and Defendant's offense level is 16 or

greater prior to any reduction for acceptance of responsibility, the government will
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move for an additional one-level reduction in offense level pursuant to Section

3El,l(b) based on Defendant's timely notification of his intention to enter a guilty

plea.

        b.      Use of Information

        The government is free to provide full and accurate information to the Court

and U.S. Probation Office for use in calculating the applicable Sentencing Guidehnes

range.       Any incriminating information provided by the defendant during his

cooperation will not be used in determining the applicable Guidelines range,

pursuant to U.S.S.G. § 1B1.8.

7.      Dismissal of Other Counts

        At sentencing, the government will move to dismiss any other Counts of the

Indictment that remain pending against Defendant.

8.      Cooperation


        a.      Complete and Truthful Cooperation Reouired

        Defendant must provide full, complete, candid, and truthful cooperation in the

investigation and prosecution of the offenses charged in his Indictment and any

related offenses. Defendant shall fully and truthfully disclose his knowledge of those

offenses and shall fully and truthfully answer any question put to him by law

enforcement officers about those offenses.

        This agreement does not require Defendant to "make a case" against any

particular person. His benefits under this agreement are conditioned only on his
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cooperation and truthfulness, not on the outcome of any trial, grand jury, or other

proceeding.

      b.      Motion for Reduction in Sentence Based on Cooperation


      The government, in its sole discretion, will decide whether Defendant's

cooperation qualifies as "substantial assistance" pursuant to U.S.S.G. § 5K1.1 or Fed.

R. Grim. P. 35 and thereby warrants the filing of a motion for downward departure

or reduction in Defendant's sentence. If such a motion is filed, the Court, in its sole

discretion, will decide whether, and to what extent. Defendant's sentence should be

reduced. The Court is not required to accept any recommendation by the government

that the Defendant's sentence be reduced.

9.    Financial Obligations and Asrreements

      a.      Restitution


      The amount ofrestitution ordered by the Court shall include restitution for the

full loss caused by Defendant's total criminal conduct. Restitution is not limited to

the specific counts to which Defendant is pleading guilty. Any restitution judgment

is intended to and will survive Defendant, notwithstanding the abatement of any

underlying criminal conviction.

      b.      Special Assessment

      Defendant agrees to pay a special assessment in the amount of $100, payable

to the Clerk of the United States District Court, which shall be due immediately at

the time of sentencing.

      c.      Required Financial Disclosures
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        By the date that Defendant enters a guilty plea, Defendant shall complete a

financial disclosure form listing all his assets and financial interests, whether held

directly or indirectly, solely or jointly, in his name or in the name of another.

Defendant shall sign the financial disclosure form under penalty of perjury and

provide that form to the Financial Litigation Unit of the United States Attorney's

Office and to the United States Probation Office. Defendant authorizes the United

States to obtain credit reports on Defendant and to share the contents ofthose reports

with the Court and the United States Probation Office. Defendant also authorizes

the United States Attorney's Office to inspect and copy all financial documents and

information held by the United States Probation Office.

        d.    Financial Examination


        Defendant will submit to an examination under oath on the issue of his

financial disclosures and assets if deemed necessary by the United States. Such

examination will occur not later than 30 days after the entry of Defendant's guilty

plea.

        e.    No Transfer of Assets

        Defendant certifies that he has made no transfer of assets in contemplations

of this prosecution for the purpose of evading or defeating financial obligations

created by this Agreement or that may be imposed upon him by the Court at

sentencing. Defendant promises that he will make no such transfers in the future.

        f.    Material Change in Circumstances
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       Defendant agrees to notify the United States of any material change in

circumstances, as described in 18 U.S.C. § 3664(k), that occurs prior to sentencing in

this case. Such notification will be made within seven days of the event giving rise

to the changed circumstances, and in no event later than the date of sentencing,

       g.    Enforcement

       Any payment schedule imposed by the Court is without prejudice to the United

States to take all actions and remedies available to it to collect the full amount of the

financial obligations imposed by the judgment of the Court in this case. Defendant

understands and agrees that the financial obligations imposed by the judgment ofthe

Court in this case will be placed on the Treasury Offset Program so that any federal

payment that Defendant receives may be offset and applied to the judgment debt

without regard to or affecting any payment schedule imposed by the Court.

10.    Waivers


       a.    Waiver of Anneal

       Defendant entirely waives his right to a direct appeal of his conviction and

sentence on any ground (including any argument that the statute to which the

defendant is pleading guilty is unconstitutional or that the admitted conduct does not

fall within the scope of the statute). The only exceptions are that the Defendant may

file a direct appeal of his sentence if(1)the court enters a sentence above the statutory

maximum,(2) the court enters a sentence above the advisory Sentencing Guidelines

range found to apply by the court at sentencing; or (3) the Government appeals the
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sentence. Absent those exceptions, Defendant explicitly and irrevocably instructs his

attorney not to file an appeal.

       b.    Waiver of Collateral Attack


       Defendant entirely waives his right to collaterally attack his conviction and

sentence on any ground and by any method, including but not limited to a 28 U.S.C.

§ 2255 motion. The only exception is that Defendant may collaterally attack his

conviction and sentence based on a claim ofineffective assistance of counsel.

       c.    FOIA and Privacv Act Waiver


       Defendant waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United

States any record pertaining to the investigation or prosecution ofthis case under the

authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of

1974, 5 U.S.C. § 552a, and all subsequent amendments thereto.

       d.    Fed. R. Crim. P. 11(f) and Fed. R. Evid. 410 Waiver

       Rule 11® of the Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Evidence ordinarily limit the admissibility of statements made by a

defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or his plea of guilty is later withdrawn, all of Defendant's statements

in connection with this plea, and any leads derived therefirom, shall be admissible for

any and all purposes.

11.    Defendant's Rights
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       Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.

Defendant possesses a number of rights which he will waive by pleading guilty,

including: the right to plead not guilty, or having already so pleaded, to persist in

that plea; the right to a jury trial; and the right at trial to confront and cross-examine

adverse witnesses, to be protected from compelled self-incrimination, to testify and

present evidence, and to compel the attendance of witnesses.

12.    Satisfaction with Counsel


       Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant believes that his attorney has represented him faithfully, skillfully, and

diligently, and he is completely satisfied with the legal advice given and the work

performed by his attorney.

13.    Breach of Plea Agreement


       Defendant breaches this agreement if, prior to sentencing in his case, he fails

to comply with any of the terms of this agreement, withdraws or attempts to

withdraw his guilty plea, refuses to accept responsibihty for his criminal conduct,

obstructs justice, tampers with witnesses or evidence, or commits any new crimes. If

Defendant breaches the plea agreement, the government is released from any

agreement herein regarding the calculation of the advisory Sentencing Guidelines or

the appropriate sentence. Additionally, such a breach by the defendant will be a

breach of his cooperation agreement, thereby allowing the government to use all

otherwise proffer-protected information at sentencing. In addition, the government
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may (1) declare the plea agreement null and void,(2) reinstate any counts that may

have been dismissed pursuant to the plea agreement, and/or (3) file new charges

against Defendant that might otherwise be barred by this plea agreement. Defendant

waives any statute-of-limitations or speedy trial defense to prosecutions reinstated

or commenced under this paragraph.

14.     Entire Agreement


        This agreement contains the entire agreement between the government and

Defendant.




                           Signatures on following page




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                                 BOBBY L. CHRISTINE
                                 UNITED STATES-ATTORNEY




         -lY
Date                             Brian T. Rafferty
                                 New York Bar No. 2809440
                                 Chief, Criminal Division




Date                             Matthew A. Josephson
                                 Georgia Bar. No. 367216
                                 Assistant United States Attorney




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        I have read and oarofully reviewed (.his a{*reemenl. wildi my a(;l;orney. 1

understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.




                                            rejxiy Mclnlyre, Defendanl


        I have fully explained to Defendant all of his rights, and I have carefully

reviewed each and every part of this agreement with him. I believe that he fully and

completely understands it, and that his decision to enter into this agreement is an

informed, intelligent, and voluntary one.


                               c:..„


)ate^                                  Allan Tucker
                                       Defendant's Attorn(^s=




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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                            BRUNSWICK DIVISION


UNITED STATES OF AMERICA


V.                                                  CR 218-14


JEREMY MCINTYRE,

                                      ORDER


       The aforesaid Plea Agreement, having been considered by the Court in

conjunction with the interrogation by the Court of the defendant and the

defendant's attorney at a hearing on the defendant's motion to change his plea and

the Court finding that the plea of guilty is made freely, voluntarily and knowingly,

it is thereupon,

       ORDERED that the plea of guilty by defendant be, and it is, hereby accepted

and the foregoing Plea Agreement be, and it is, hereby ratified and confirmed.



             This        day of




                                            ^ED STATES DISTRICT COURT
                                         ERN DISTRICT OF GEORGIA"
